     Case 4:18-cv-04544 Document 40 Filed on 05/20/19 in TXSD Page 1 of 1

                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION




Joanna Burke, et al.
                                               Plaintiff,
v.                                                                       Case No.: 4:18−cv−04544
                                                                         Judge David Hittner
Ocwen Loan Servicing, LLC
                                               Defendant.



                                          Official Transcript Filed

An official transcript has been filed. It may contain information protected from public disclosure by law.
See E−Government Act of 2002, Fed. R. Civ. P. 5.2(a) or Fed. R. Crim. P. 49.1(a).

Ninety days after a transcript has been filed, it will be electronically available to the public on PACER. To
comply with the rules on privacy, the parties must redact protected information before it is available on
PACER.

If redaction is needed, the parties must file a statement listing the items to be redacted, with the transcript's
docket number and the item's location by page and line. It must be filed within 21 days of the transcript
being filed. A suggested form is at www.txs.uscourts.gov.

Only these portions of data may be visibile:


      •    Last four digits of a social security number or taxpayer identification number;
      •    Year of a person's birth;
      •    Initials of a minor's name;
      •    Last four digits of an account number; and
      •    City and state of a home address in criminal cases.


Additional redactions require a separate motion and court approval.

A party may view the transcript at the public terminals in the clerk's office or buy it through
www.txs.uscourts.gov or by calling (713) 250−5500 . A party is only responsible for reviewing the:


      •    Opening and closing statements made for his party;
      •    Statements by his party;
      •    Testimony of witnesses called by his party; and
      •    Other parts ordered by the court.


Redaction is your responsibility. The court, clerk, court reporter, or transcriber will not review this transcript
for compliance.




                                             David J. Bradley, Clerk
